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                      EXHIBIT B

         Cure Cost Schedule – Assumed Contracts




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                                      Assumed Contracts
         Counterparty                     Counterparty Address                     Contract Type   Cure Amount

                             Amazon Web Services
AWS                          440 Terry Ave N                                 Software License          $3,000.00
                             Seattle, WA 98109
                             Black Tie Sports Ltd. (Croatia)
                             Attn: Marko Martinović
Black Tie Sports (Croatia)                                                   Licensee                     $0.00
                             Wangdun Road 135
                             SIP, Suzhou, China
                             Bynder
                             321 Summer Street
Bynder                                                                       Software License             $0.00
                             1st Floor
                             Boston, MA 02210
                             Cho TM Korea (South Korea)
                             Attn: Andrew Cho
Cho TM Korea (South Korea)                                                   Licensee                     $0.00
                             200 Winston Drive
                             Clifside Park, NJ 07010

                             Cloudingo
Cloudingo                    4004 Beltline Road, Suite 120                   Software License             $0.00
                             Dallas, TX 75001

                             Crescent Valley Pty Ltd (South Africa)
Crescent Valley Ltd (South   Attn: Andrew Douglas
                                                                             Licensee                     $0.00
Africa)                      35 Bell Cresent
                             Tokai, WC 7945, South Africa
                             Diffusion
                             Attn: Liz Duggan                                Vendor / Service
Diffusion                                                                                             $16,001.00
                             244 5th Avenue                                  Provider
                             New York, NY 10001
                             Dyehard Fan Supply
                             Attn: Scott Killian                             Vendor / Service
Dyehard Fan Supply                                                                                        $0.00
                             1001 West Fourth Street                         Provider
                             Winstom‐Salem, NC 27101
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                             Event Hub
                             Attn: Michael Bleu                               Sponsor / Revenue /
Event Hub                                                                                               $0.00
                             6523 California Avenue, Suite 148                Comm. Support
                             Seattle, WA 98136
                             Every Man Jack
                             Attn: Ritch Viola
                                                                              Sponsor / Revenue /
Every Man Jack               500 Tamal Plaza                                                            $0.00
                                                                              Comm. Support
                             Suite 505
                             Corte Madera, CA 94925
                             Github
Github                       88 Colin P Kelly Jr St                           Software License        $100.00
                             San Francisco, CA 94107
                             Google G‐Suite
G‐Suite                      1600 Amphitheatre Pkwy                           Software License          $0.00
                             Mountain View, CA 94043
                             Hamburger Asia (Singapore, Malaysia)
                             Attn: Miyeera Navaretna
                             Hamburger Asia Sdn. Bhd.
Hamburger Asia (Singapore,   Level 7, Oasis Wing,
                                                                              Licensee                  $0.00
Malaysia)                    Brunsfield, Oasis Tower 3, 2, Jalan PJU 1A/7A,
                             Oasis Square, Oasis Damansara
                             47301 Petaling Jaya, Selangor Darul Ehsan,
                             Malaysia
                             IBM/Silverpop
                             Attn: Mark Hetterly
IBM/Silverpop                                                                 Software License      $36,213.00
                             3 East 28th Street
                             New York, NY 10016
                             IMG (Australia)
                             Attn: Marcus Gale
IMG (Australia)              Level 8                                          Licensee                $635.00
                             580 St. Kilda Road
                             Melbourne, Victoria, Australia
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                            KHO Capital (Philippines)
                            Attn: Jake Zimmerman
                            KHO Capital
KHO Capital (Philippines)                                                    Licensee                  $0.00
                            832 A. Arnaiz Ave
                            2nd Floor
                            Makati, Philippines
                            Materialogic
                            Attn: A. Milton Cornwell                         Vendor / Service
Materialogic                                                                                       $22,543.14
                            3100 Corporate Exchange Ct.                      Provider
                            Bridgeton, MO 63044
                            Navy Federal Credit Union
                            Attn: Patty Valezuela Stover                     Sponsor / Revenue /
Navy Federal Credit Union                                                                              $0.00
                            820 Follin Lane                                  Comm. Support
                            Vienna, VA 22180

                            One Trust
                            Attn: Steve Rubenstein
One Trust                                                                    Software License       $6,336.00
                            1200 Abernathy Rd NE, Building 600
                            Atlanta, GA 30328

                            Pantheon
                            Attn: Job Gregory                                Vendor / Service
Pantheon                                                                                           $13,256.69
                            717 California Street                            Provider
                            San Francisco, CA 94108

                            Ponto Org Organizacao de Eventos Ltda (Brasil)
                            Attn: Henrique Gomes
Ponto Org Organizacao de
                            Rua Arrudas 245                                  Licensee                  $0.00
Eventos Ltda
                            Sala 05, Santa Lucia
                            Belo Horizante MG Brasil

                            Realize Massive (Italy)
                            Attn: Fabiana De Rosa
                            Realize S.R.L.
Realize Massive (Italy)                                                      Licensee                  $0.00
                            Piazza IV Novembre
                            4‐20124
                            Milano, Italy
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                            Rosterfy
                            Attn: Shannon Gove
Rosterfy                    2420 17th Street Tenant LLC                       Software License     $2,876.45
                            2420 17th St
                            Denver, CO 80202
                            RunIreland Ltd. (Ireland)
                            Attn: Ray O’Connor
RunIreland (Ireland)        Unit 3                                            Licensee                $0.00
                            Liosban Business Park, Tuam Road
                            Galway, Ireland

                            Ryder Leasing
                            Ryder Shared Services Center ‐ Customer Care      Vendor / Service
Ryder Leasing                                                                                         $0.00
                            6000 Windward Pkwy                                Provider
                            Alpharetta, GA 30005

                            Sabco Sports LLC (UAE, Oman, Bahrain, Pakistan,
                            Qatar)
Sabco Sports (UAE, Oman,    Attn: Nic Cartwright
                                                                              Licensee                $0.00
Bahrain, Pakistan, Qatar)   PO Box 3779
                            PC 112, Ruwi
                            Muscat, Sultanate of Oman

                            The TriFactory (Egypt)
                            Attn: Ayman Hakky
TriFactory (egypt)                                                            Licensee                $0.00
                            17 Mansour Mohamed Street
                            Zamalek, Cairo, Egypt 11211

                            Tough Mudder Bootcamp
                            Attn: John M. Cross, Jr., Britt Canady
                            Brooks Pierce
Tough Mudder Bootcamp                                                         Licensee                $0.00
                            2000 Renaissance Plaza
                            230 North Elm Street
                            Greensboro, NC 27401
                            Wondersauce
                            Attn: Megan Blake                                 Vendor / Service
Wondersauce                                                                                       $42,500.00
                            45 West 25th Street, 6th Floor                    Provider
                            New York, NY 10010
